 Case 22-03048-mvl Doc 1 Filed 05/13/22          Entered 05/13/22 14:22:06       Page 1 of 14




                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                          (Dallas)



In re:                                           Case No. 21-31797

CINNAMON EPLEY,
                                                 Chapter 7
                Debtor.



NATIONWIDE JUDGMENT RECOVER,
INC.,

                Plaintiff,                       Adversary Proc. No. _____________
v.

CINNAMON EPLEY,

                Defendant.


              COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

         COMES NOW Nationwide Judgment Recovery, Inc. (“Nationwide”), the Plaintiff and a

creditor in the above-styled action, by and through counsel, and pursuant to 11 U.S.C. §§

523(a)(19) and (a)(2)(A), files this Complaint to Determine Dischargeability of Debt against

Defendant, Cinnamon Epley (“Debtor” or “Defendant”), and for causes of action states as

follows:

                                       JURISDICTION

         1.    This adversary proceeding is brought in connection with the Debtor’s case under

Chapter 7 of Title 11 of the United States Code, Bankruptcy Case No. 21-31797 (the

“Bankruptcy Case”) now pending in this Court. This Court has jurisdiction over this adversary



126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22              Entered 05/13/22 14:22:06     Page 2 of 14




proceeding pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2)(I).

        2.      In accordance with Fed. R. Bankr. P. 7008, Nationwide consents to the entry of

final orders and judgments by this Court.

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a).

        4.      Nationwide is a creditor of Debtor pursuant to that certain assignment of

judgment (the “Assignment”) executed in favor of Nationwide by Matthew E. Orso, in his

capacity as court-appointed Receiver for Rex Venture Group, LLC d/b/a/ ZeekRewards.com, in

the District Court for the Western District of North Carolina (the “District Court”), Case No.

3:14-cv-00091-GCM. A true and accurate copy of the Assignment is attached hereto as Exhibit

A.

                                            OVERVIEW

        5.      The relief requested arises out of a judgment in the amount of $65,705.51 and

entered against Defendant on August 14, 2017 in Bell v. Disner, Case No. 3:14-cv-00091-GCM

(W.D.N.C. 2017) (the “Net Winner Class Action”), referred to herein as the “Final Judgment.”

A true and accurate copy of the Final Judgment is attached hereto as Exhibit B and is

incorporated herein by reference.

        6.      Pursuant to the terms of the Final Judgment, post-judgment interest has accrued at

the rate specified under 28 U.S.C. § 1961 from the date of entry of the Final Judgment up until

the petition date.

                     PROCEDURAL BACKGROUND OF FINAL JUDGMENT




                                                 2
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22               Entered 05/13/22 14:22:06       Page 3 of 14




        7.     On August 17, 2012, the Securities and Exchange Commission filed an action

titled Securities and Exchange Commission v. Rex Venture Group, LLC d/b/a ZeekRewards.com

and Paul Burks, Civil Action No. 3:12-cv-519 (the “SEC Action”) to shut down a Ponzi scheme

operated by Rex Venture Group, LLC d/b/a www.ZeekRewards.com (“ZeekRewards”) in

which more than 700,000 participants lost more than $700,000,000.

        8.     The SEC Action was brought against ZeekRewards due to ZeekRewards’

violation of federal securities law. See S.E.C. Action, Compl., at ¶ 1 (stating that it was filed to

“halt the fraudulent unregistered offer and sale of securities in unregistered investment contracts

constituting securities in a combined Ponzi and Pyramid scheme perpetrated by Defendant Rex

Venture Group, LLC”). A true and accurate copy of the Complaint in the SEC Action is

attached hereto as Exhibit C.

        9.     As part of the SEC Action, the SEC appointed Kenneth D. Bell as Receiver of the

estate of ZeekRewards and tasked him with initiating legal proceedings seeking to recover funds

from the participants in the scheme who had obtained more than $1,000 from the scheme (the

“Net Winners”) and return them to the persons who had lost money to the scheme (the “Net

Losers”).

        10.    The Receiver, therefore, initiated the Net Winner Class Action, a clawback action

seeking to void the fraudulent transfer of funds to the Net Winners and disgorge their profits

(“Net Winner Class Action”).

        11.    The Net Winner Class Action asserted claims for violation of the North Carolina

Uniform Fraudulent Transfer Act (“NCUFTA”), Common Law Fraudulent Transfer, and




                                                  3
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22              Entered 05/13/22 14:22:06     Page 4 of 14




Constructive Trust as a result of the ZeekRewards Ponzi scheme that operated in violation of

federal securities law.

        12.    Debtor was a Net Winner and a member of the Net Winner Class certified in the

Net Winner Class Action.

        13.    In fact, the Receiver’s records reflect that the Defendant “won” a total of

approximately $53,693.97 from the scheme in just over eleven (11) months, despite “investing”

only $4,767.75.

        14.    A true and correct copy of the financial statement showing the Debtor’s payments

into the ZeekRewards Ponzi scheme and her winnings (the “Statement”) is attached hereto as

Exhibit D and incorporated herein by reference.

        15.    On June 30, 2016, the Receiver moved for partial summary judgment on all issues

of liability against members of the Net Winner Class, including Defendant.

        16.    On November 29, 2016, the Court issued its order granting the Receiver’s motion

for partial summary judgment (the “Order”). A true and correct copy of the Order is attached

hereto as Exhibit E.

        17.    In the Order granting the Receiver’s motion for partial summary judgment, the

Court found that ZeekRewards operated as a Ponzi scheme in violation of federal securities law

and that the Defendants’ transfers in furtherance of the Ponzi scheme were fraudulent as

violations of N.C. Gen. Stat. § 39-23.4(a)(1), the NCUFTA.

        18.    The Court also found that the intent to defraud could be presumed against the Net

Winners because the transfers were in furtherance of the ZeekRewards Ponzi scheme.




                                                 4
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22               Entered 05/13/22 14:22:06    Page 5 of 14




        19.     The SEC Action also resulted in a finding that the ZeekRewards Ponzi scheme

amounted to a violation of federal securities law. See Securities and Exchange Commission v.

Gilmond, Civil Action No. 3:15CV91, 2017 WL 1147770, at *1 (W.D.N.C. March 27, 2017)

(finding that ZeekRewards issued “fraudulent and unregistered…securities”).

        20.     The Fourth Circuit affirmed the determination in the Net Winner Class Action

that ZeekRewards was involved in the sale of fraudulent securities. See Bell v. Brockett, 922

F.3d 502, 505 (4th Cir. 2019) (finding that ZeekRewards sold an “opportunity to share in RVG’s

revenues”).

        21.     On June 27, 2017, the Receiver filed a Motion to Enter Final Judgments Against

the Net Winner Class Members, including Defendant, which was granted by the Court on August

14, 2017.

        22.     On December 17, 2019, Nationwide was assigned the full portfolio of judgments

obtained against more than 6,700 Net Winners who participated and profited from ZeekRewards,

including the Final Judgment against Defendant. See Ex. B.

        23.     The Final Judgment against Defendant entered in the Net Winner Class Action is

a debt owed by Defendant for fraudulent transfers she received as a result of her participation in

the ZeekRewards Ponzi scheme.

        24.     On April 28, 2020, Nationwide mailed via First Class Mail, postage prepaid, an

initial notice of the Final Judgment to Defendant at her then address at 3501 N Juniper Rd, Apt

8B, Richardson, TX 75082-2214. A true and correct copy of the initial notice is attached hereto

as Exhibit F.

        25.     This initial notice was not returned.


                                                  5
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22                     Entered 05/13/22 14:22:06          Page 6 of 14




        26.      On September 1, 2020, the Final Judgment was registered in the District Court for

the Western District of North Carolina. A true and correct copy of the registration is attached

hereto as Exhibit G.

        27.      The Final Judgment was also recorded in Texas. A true and correct copy of the

Official Notice of Texas Registered Judgment is attached hereto as Exhibit H.

        28.      On January 11, 2021, Nationwide sent to the Defendant via Priority Mail notice of

the registration of the Final Judgment.

        29.      This mailing was not returned.

        30.      Nationwide also left voicemail messages with the Defendant regarding the Final

Judgment. Specifically, Nationwide left voicemail messages in the following manner:

        -     Phone Number 214-923-7660:1 two messages dated January 4, 2021 and January 13,

              2021, respectively.

        -     Phone Number 704-923-7644: one message dated January 13, 2021.

        31.      Nationwide also sent numerous emails to the email address

dallasreinvestorwoman@gmail.com which, upon information and belief, is the Defendant’s

email address.

        32.      Specifically, Nationwide sent twelve (12) emails to

dallasreinvestorwoman@gmail.com on the following dates: April 22, 2020; May 5, 2020; May




1
  While Rule 9037 of the Federal Rules of Bankruptcy Procedure does not expressly require the redaction of phone
numbers or email, Nationwide has redacted such information out of an abundance of caution. Nationwide shall file
an unredacted complaint with the Court in the event that the Court or the Defendant makes such a request.
Nationwide will also provide a copy of the unredacted complaint to Debtor’s counsel in the main bankruptcy case
via their listed email addresses.

                                                        6
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22             Entered 05/13/22 14:22:06      Page 7 of 14




11, 2020; June 2, 2020; June 17, 2020; July 13, 2020; July 16, 2020; February 3, 2021; February

8, 2021; February 12, 2021; February 15, 2021; and February 18, 2021.

         33.   All of the aforementioned emails registered as delivered and none of the emails

“bounced back” due to being sent to a faulty or incorrect email address.

         34.   Notwithstanding, Defendant testified at the Section 341 Meeting of Creditors that

she had no knowledge of the Final Judgment and that she had never received notice regarding the

same.

         35.   Moreover, on May 10, 2022, Nationwide conducted its Bankruptcy Rule 2004

examination of the Defendant pursuant to the Court’s order entered on April 20, 2022, which

required that the Defendant appear for a Bankruptcy Rule 2004 examination and ordered the

Defendant to produce certain documents to Nationwide in conjunction with the examination.

Bankruptcy Case, D.I. 49 (the “2004 Order”).

         36.   During the 2004 examination, Defendant testified that she had no knowledge of

the Final Judgment and that she had never received any notice regarding the same.

         37.   Defendant also failed to produce any of the documents required to be produced by

the 2004 Order.

         38.   Defendant, when questioned about these documents, testified that she did not

even bother to look for any of the requested documents, despite the 2004 Order requiring her to

do so.

                              THE ZEEKREWARDS’ SCHEME

         39.   To “invest” in ZeekRewards and be entitled to the venture’s fictitious profits,

participants had to become “Affiliates.”


                                                7
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22               Entered 05/13/22 14:22:06     Page 8 of 14




        40.    To become a qualified “Affiliate,” such as Defendant, participants were required

to do four things.

        41.    First, Affiliates were required to enroll in a monthly subscription plan requiring

payments of $10, $50, or $99 per month. See Bell v. Disner, 3:14-cv-00091, 2016 WL 7007522,

at *8 (W.D.N.C. Nov. 29, 2016) (issuing summary judgment on liability issues against the Net

Winner Class) (the “Summary Judgment Order”).

        42.    Second, Affiliates were required to enroll new penny auction customers

personally, either through the ZeekRewards co-op program or through third-party businesses

endorsed by ZeekRewards. Id.

        43.    Third, Affiliates were required to sell at retail or purchase and give away as

samples a minimum of ten Zeekler.com bids, to earn something called “Profit Points.” Id.

        44.    Lastly, affiliates had to place a daily free ad for Zeekler.com and submit proof of

the ad being placed to ZeekRewards. Id.

          DEFENDANT’S PARTICIPATION IN THE ZEEKREWARDS’ SCHEME

        45.    The Receiver’s records reflect that Defendant was an Affiliate and engaged in all

of aforementioned activities to obtain the fraudulent proceeds of the Ponzi scheme.

        46.    Upon information and belief, Defendant knew that ZeekRewards was a Ponzi

scheme.

        47.    The extreme percent of her winnings demonstrate that Defendant should have

known that ZeekRewards was a Ponzi scheme.

        48.    Yet, despite her knowledge that ZeekRewards was a Ponzi scheme, she continued

to participate in it by performing the duties of an “Affiliate.”


                                                  8
126350576v2
 Case 22-03048-mvl Doc 1 Filed 05/13/22               Entered 05/13/22 14:22:06     Page 9 of 14




        49.    The Receiver’s records reflect that Defendant recruited at least one (1) individual,

Stephanie Wilson, to participate in the scheme.

        50.    The Receiver’s records reflect that Defendant set up an Affiliate account in her

own name under which she participated in ZeekRewards’ activities.

        51.    The Statements show that Defendant made payments totaling $4,450.75 towards

“Bid Purchases” and $317.00 in “Subscription Payments.”

        52.    The Statements also show that Defendant received fraudulent transfers from the

scheme totaling $53,693.97.

        53.    As part of her active participation in the ZeekRewards Ponzi scheme, the

Defendant received a number of fraudulent transfers that resulted in her being designated a

member of the Net Winner Class.

        54.    The Final Judgment against Defendant is accordingly a result of her fraudulent

conduct and her active and knowing participation in a Ponzi scheme that violated federal

securities law and precipitated Defendant’s bankruptcy filing.

        55.    As a Net Winner, all of the proceeds that Defendant received came from the

investments of victims. See Net Winner Class Action, 2016 WL 7007522, at *3.

        56.    Further, all of the proceeds that Defendant received from ZeekRewards accrued

as the result of a violation of federal securities law committed by ZeekRewards and aided and

abetted by Defendant.

        57.    Furthermore, Defendant intentionally acted in a fraudulent manner through her

creation of an Affiliate account and her recruitment of at least one other individual.

                        COUNT I: Relief Under 11 U.S.C. § 523(a)(19)


                                                  9
126350576v2
Case 22-03048-mvl Doc 1 Filed 05/13/22               Entered 05/13/22 14:22:06        Page 10 of 14




        58.      Plaintiff incorporates Paragraphs 1-57 of the above as if restated fully herein.

        59.      11 U.S.C. § 523(a)(19) provides that a Chapter 7 discharge does not discharge a

debt that:

              A. is for –

                      i. the violation of any of the Federal securities laws…; or
                     ii. common law fraud, deceit, or manipulation in connection with the
                         purchase or sale of a security; and

              B. results, before, on, or after the date on which the petition was filed, from –

                      i. any judgment, order, consent order, or decree entered in any Federal or
                         State judicial or administrative proceeding;
                     ii. any settlement agreement entered into by the debtor; or
                    iii. any court or administrative order for any damages, fine, penalty, citation,
                         restitutionary payment, disgorgement payment, attorney fee, cost, or other
                         payment owed by the debtor.

        60.      In sum, 11 U.S.C. § 523(a)(19) precludes dischargeability of a debt if (1) the debt

is for the violation of securities law OR for common law fraud, deceit, manipulation in

connection with the purchase or sale of any security; and (2) the debt is memorialized in a

judicial or administrative order or settlement agreement.

        61.      Defendant obtained her Net Winnings as a result of the violation of the Federal

securities laws. See Securities and Exchange Commission v. Gilmond, Civil Action No.

3:15CV91, 2017 WL 1147770, at *1 (W.D.N.C. March 27, 2017); Bell v. Brockett, 922 F.3d

502, 505 (4th Cir. 2019).

        62.      Defendant also facilitated ZeekRewards’ violation of the securities laws by

performing her duties as an Affiliate despite having knowledge that ZeekRewards was a Ponzi

scheme.



                                                   10
126350576v2
Case 22-03048-mvl Doc 1 Filed 05/13/22             Entered 05/13/22 14:22:06        Page 11 of 14




         63.   Defendant also obtained her Net Winnings through the use of “common law

fraud, deceit, or manipulation in connection with the purchase or sale of any security” as

required by 11 U.S.C. § 523(a)(19).

         64.   Upon information and belief, Defendant worked to enroll others into the scheme

despite having knowledge that it was a scheme and without revealing that fact to the persons she

enrolled.

         65.   Defendant performed the actions of an Affiliate in order to maximize

ZeekRewards’ ability to pay her and in order to maintain her “Affiliate” status with the program.

         66.   The Final Judgment against Defendant was issued to reclaim the Net Winnings

that Defendant obtained through the violation of the federal securities laws and through her own

deceitful actions.

         67.   Accordingly, the Final Judgment against Defendant should be found non-

dischargeable pursuant to 11 U.S.C. § 523(a)(19). See In re Lunsford, 848 F.3d 963 (11th Cir.

2017).

                        COUNT II: Relief Under 11 U.S.C. § 523(a)(2)(A)

         68.   Plaintiff incorporates paragraphs 1-67 of the above as if restated fully herein.

         69.   11 U.S.C. § 523(a)(2)(A) provides that bankruptcy does not discharge an

individual from any debt that is “(2) for money…to the extent obtained by (A) false pretenses, a

false representation, or actual fraud, other than a statement respecting the debtor’s or an insider’s

financial condition.”

         70.   This means that a debt is not dischargeable under this statute if it was for money

obtained by false pretenses, a false representation, or actual fraud.


                                                 11
126350576v2
Case 22-03048-mvl Doc 1 Filed 05/13/22            Entered 05/13/22 14:22:06        Page 12 of 14




        71.     Under Supreme Court precedent, this includes cases where the debtor is a

recipient of a fraudulent transfer who assisted the fraud. See Husky Intern. Electronics, Inc. v.

Ritz, 578 U.S. 356, 359-60 (2016).

        72.     Defendant committed actual fraud by receiving the fraudulent transfers that form

the basis of the Final Judgment and by participating in the scheme.

        73.     As described above, Defendant committed actual fraud by engaging in her

Affiliate activities despite, on information and belief, her knowledge that ZeekRewards was a

Ponzi scheme.

        74.     As described above, Defendant committed actual fraud by facilitating the

ZeekRewards scam in order to maximize her potential payout, including through her creating an

Affiliate account and recruiting others to join the scheme.

        75.     Indeed, violation of the North Carolina Uniform Fraudulent Transfer Act, which

forms the basis of the Final Judgment, required finding that Defendant obtained her Net

Winnings “with the intent to hinder, delay, or defraud any creditor of the debtor.” See N.C. Gen.

Stat. §§ 39-23.4(a)(1) (the “NCUFTA” requirements); Bell v. Disner, 3:14-cv-00091, 2016 WL

7007522 (W.D.N.C. Nov. 29, 2016) (issuing summary judgment against Defendant and other

Net Winners on the issue of liability for violation of the NCUFTA).

        76.     Defendant’s fraudulent intent can be presumed due to the Ponzi scheme

presumption, which holds that “proof of operation of a Ponzi scheme is sufficient to establish

actual intent to hinder, delay, or defraud creditors.” Bell, 2016 WL 7007522, at *11 (collecting

cases standing for this proposition).




                                                12
126350576v2
Case 22-03048-mvl Doc 1 Filed 05/13/22          Entered 05/13/22 14:22:06       Page 13 of 14




        77.     As such, the Final Judgment should be non-dischargeable under 11 U.S.C. §

523(a)(2)(A).

        WHEREFORE, Plaintiff Nationwide Judgment Recovery, prays that the Final Judgment

be held nondischargeable pursuant to 11 U.S.C. §§ 523(a)(19) and 523(a)(2)(A), and for all other

relief this Court may deem appropriate.

                               [SIGNATURES ON NEXT PAGE]




                                               13
126350576v2
Case 22-03048-mvl Doc 1 Filed 05/13/22    Entered 05/13/22 14:22:06   Page 14 of 14




Dated: May 13, 2022                  Respectfully submitted,

                                      //s// Keith Wier
                                     Keith Wier, SBN: 21436100
                                     MAURICE WUTSCHER LLP
                                     5851 Legacy Circle, Suite 600
                                     Plano, TX 75024
                                     Telephone: 469-375-6792
                                     Email: kwier@mauricewutscher.com
                                     Local Counsel

                                     Kay S. Kress (admitted pro hac vice)
                                     Troutman Pepper Hamilton Sanders LLP
                                     4000 Town Center, Suite 1800
                                     Southfield, MI 48075
                                     Telephone: 248-359-7300

                                     Attorneys for Nationwide Judgment Recovery, Inc.




                                         14
126350576v2
